Case 1:18-cv-06249-VSB Document 126 Filed 02/05/19 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

GREAT WESTERN INSURANCE COMPANY,

Plaintiff,
Vv.

MARK GRAHAM, DONALD SOLOW, BLUE
CAPITAL MANAGEMENT, INC., BLUE
ALTERNATIVE ASSET MANAGEMENT LLC,
WILMINGTON SAVINGS FUND SOCIETY, FSB, :
CHRISTIANA TRUST, REGATTA HOLDINGS _ :
LLC, CYGNET 001 MASTER TRUST, CYGNET :
001 MASTER TRUST SERIES 2011-A, CYGNET :
001 MASTER TRUST SERIES 2011-C, CYGNET :
MASTER TRUST SERIES 2013-A, ALPHA RE:
LIMITED, ALPHA RE HOLDINGS (CAYMAN)
LIMITED, ATLANTIC SPECIALTY FINANCE,
BLUE ELITE FUND LTD., BLUE ELITE FUND
LP, BLUE II LTD., SANCUS CAPITAL BLUE
CREDIT OPPORTUNITIES FUND LTD.,

ABILITY INSURANCE COMPANY, JOHN
DRAKE, EDWARD BRENDAN LYNCH, AND
GREGORY TOLERAM,

CIVIL ACTION NO.
18-cv-06249 (VSB)

Defendants.

 

DECLARATION OF MARK GRAHAM IN SUPPORT OF BLUE DEFENDANTS’
MOTION TO DISMISS AGAINST BLUE IJ, LTD. FOR PERSONAL JURISDICTION

MARK R. GRAHAM declares as follows:

1. I serve on the Board of Directors of Blue II, Ltd., one of the defendants in this
action. I make this declaration based on the knowledge I have gained through this role.

2. Blue II, Ltd. was established in 2012 with its present principal place of business at
Whitehall House, 238 North Church Street, P.O. Box 1043, George Town, Grand Cayman K Y1-
1102, Cayman Islands. Blue II, Ltd. has maintained tts principal place of business in the

Cayman Islands, although at different local addresses, since its inception through today.

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4, Blue Il, Ltd. has never maintained an office in New York.
2 Blue II, Ltd. has never employed any persons in New York.
6. Blue IL, Ltd.’s administrator is not located in New York.

7. Blue I, Ltd’s custodian is not located in New York,

[ hereby declare under penalty of perjury that the foregoing is true and correct to the best
of my knowledge, information, and belief.
Dated: October 31, 2018

New York New York A ‘

Mark R. Graham

 

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